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UNI'I`ED STATES DIS'I`RICT COURT
DISTRICT OF MAINE

UNITED STATES OF AMERICA, )
) i l f i,'
)
) .
v ) Crim. N0. 1:19-cr-00007-JAW
) 17 U.S.C. § 506(a)(1)(B)
) 18 U.S.C. §§ 2319(a), 2319(€)(1), 2
) 18 U.S.C. §§ 1341, 2
DOUGLAS GORDON. )
)

 

SUPERSEDING INDICTMENT
The GRAND JURY charges:

COUNT 1
[Criminal Copyright Inii'ingement]

During a 180-day period beginning on about January 21, 2014 and continuing to about

June 3, 2014 in the District of Maine, the Defendant,
DOUGLAS GORDON,

did Willfully infringe copyrights of motion pictures and did aid and abet in the Willful infringement
of copyrights of motion pictures by reproducing and distributing or causing the reproduction and
distribution often (10) or more copies of copyrighted Works which have a total retail value of more
than $2,500,

In violation of Title 17, United States Code, Section 506(a)(1)(B) and Title 18, United

States Code, Sections 2319(a), 2319(0)(1) and 2.

COUNT 2
[Criminal Copyright lnfringement]

During a 180-day period beginning on about July 12, 2016 and continuing to about

December 30, 2016 in the District of Maine, the Det`endant,

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DOUGLAS GORDON,
did willfully infringe copyrights of motion pictures and did aid and abet in the Willful infringement
of copyrights of motion pictures by reproducing and distributing or causing the reproduction and
distribution often (10) or more copies of copyrighted Works which have a total retail value of more
than $2,500,
In violation of Title 17, United States Code, Section 506(a)(1)(B) and 'I`itle 18, United

States Code, Sections 2319(a), 2319(0)(1) and 2.

COUN'I` 3
[Mail Fraud Scheme and Artiiice]

Introduction
1. At all times relevant to this lndictment:

a. The Defendant established FindrareDVDs (FRD), Lostmoviesfound (LMF) and
Lostmoviefinder (LMFinder) websites to advertise the sale of more than 100 motion pictures in
DVD format. FRD, LMF and LMFinder accepted “Mail in” orders by “Regular Mail” as well as
“On-line” orders. The cost of each DVD motion picture ranged between $9.99 and $24.99.

b. In advertising the sale of more than 100 DVD motion pictures, the Defendant
used cover art and movie images Without rights or permission, product descriptions, pricing as
Well as logos as part of the websites in order to provide customers With a belief that the DVDs
Would be of good quality and give his fraudulent online businesses an appearance of legitimacy

c. The Defendant used the Websites to solicit thousands of orders for DVDs and then
iblfrlled the orders by reproducing and causing to be delivered by mail digital video disc-
recordable (bumed DVD) copies of motion pictures to customers from the United States and
elsewhere

d. Some customer orders for DVD motion pictures were delivered by means of the

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United States Postal Service (USPS) to a post office box or to a United Parcel Service (UPS)
mail box used by the Defendant. The Defendant delivered or caused to be delivered envelopes
containing burned DVD copies of motion pictures to USPS facilities in the Bangor, Maine area.
The USPS then delivered the envelopes to customers throughout the United States and
elsewhere.

e. The Defendant well knew as a result of notification received from copyright
owners and others that burned DVD copies of motion pictures were reproduced and distributed
without authorization The Defendant also well knew as a result of complaints received from
customers that he had obtained their money by means of fraudulent pretenses, representations,
promises, and omissions of material fact.

The Scheme to Defraud

2. From about April, 2014 to about January, 2019 in the District of Maine, the

Defendant,

DOUGLAS G()RDON,
With the intent to defraud, did devise the scheme and artifice set forth below to obtain money by
means of false and fraudulent pretenses, representations, promises, and omissions of material
fact (“the scheme to defraud”), or did aid and abet the same. For the purpose of executing or
attempting to execute the scheme to defraud, the Defendant did knowingly cause to be delivered
by mail according to the direction thereon, burned DVD copies of motion pictures and customer

orders for burned DVD copies of motion pictures, or did aid and abet the same.

Purpose of the Scheme to Defraud

3. lt was the purpose of the scheme to defraud for the Defendant to unlawfully obtain

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money from customers by misleading them with use of fraudulent representations and omissions
of material fact to believe they Were purchasing authentic motion picture DVDs of good quality
When in truth and fact the Defendant caused to be delivered by mail thousands of burned DVD

copies of motion pictures of inferior quality.

Acts and Omissicns in Execution of the Scheme to Defraud
4. ln executing the mail fraud scheme and artifice to defraud, the Defendant committed the
affirmative acts and made the omissions of material fact which are described below:

a. The Defendant, using the FRD, LMF and LMFinder websites, devised a scheme
to defraud at Brewer, Maine and elsewhere which used the mail for purposes of receiving motion
picture DVD orders and distributing burned DVD copies of motion pictures

b. The Defendant maintained computers, DVD duplicators, blank recordable DVD
discs, manila envelopes, white DVD sleeves and mailing labels for the purposes of operating
websites, receiving motion picture DVD orders as well as reproducing, selling and distributing
burned DVD copies of motion pictures.

c. The Defendant possessed large numbers of recorded motion pictures, including
original motion picture VHS cassette tapes, computer files and “master” burned DVD copies,
from which copyright-protected motion pictures were transferred to and reproduced or burned
without authorization onto DVD-recordable discs.

d. The Defendant -» with use of the motion pictures transferred from VHS cassette
tapes to computer files or “master” burned DVD discs - reproduced, sold and distributed or
aided and abetted in the reproduction, sale and distribution to customers by “Regular Mail”

burned DVD copies of motion pictures of inferior quality.

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c. 'l`he Defendant, with use of information displayed on the FRD, LMF and
LMFinder websites and with omissions of material fact on thc websites, provided his fraudulent
online businesses with an appearance of legitimacy and misled customers about the quality of
DVD versions of motion pictures

f. The Defendant knowingly caused USPS delivery of thousands of manila paper
envelopes which contained burned DVD copies of motion pictures to customers who having
placed an order with use of a FRD, LMF or LMFinder website had expectations of receiving an
authentic motion picture in a DVD format of good quality.

g. Despite receiving numerous email messages from owners of copyrights of motion
pictures informing him that FRD or LMF was not authorized by the owners or by F ederal law to
reproduce or distribute their motion pictures, the Defendant falsely stated he possessed copyright
permissions, rights or authorities to sell burned DVDs of motion pictures

h. Despite receiving or being informed of numerous consumer complaints regarding
purchases of DVDS of motion pictures in which customers expressed dissatisfaction With FRD or
LMF for providing a burned DVD of inferior quality, the Defendant continued advertising,
selling, reproducing and distributing large numbers of burned DVDs of motion pictures which
were of inferior quality or did aid and abet the same.

All in violation ofTitle 18, United States Code, Sections 1341 and 2.

A TRUE BILL, this 17th day of April, 2019.

  

/(Ass(istant) Un\ihed\§tates Attorney
District of Maine

Dated at Bangor, Maine this 17th day of April, 2019.

